    Case 2:15-cv-05346-CJC-E Document 469-56 Filed 12/10/20 Page 1 of 9 Page ID
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                     Exhibit 1-HH
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment


            U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                      Exhibit 1HH
                                                        White Decl. ISO Disney's SJ Motion P.0672
             Case 2:15-cv-05346-CJC-E Document 469-56 Filed 12/10/20 Page 2 of 9 Page ID
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                  Attorneys for Plaintiffs
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     e,;                              UNITED STATES DISTRICT COURT FOR THE
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     0                                   CENTRAL DISTRICT OF CALIFORNIA
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     ~       11   T.P., et al.,                                            )   Case No.: 15-cv-5346-R
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             12                     Plaintiffs,
                                                                           )
                                                                           )   NOTICE OF SERVING
     0                                                                     )   PLAINTIFFS Y.Z. AND M.Y.R.'S
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                           V.                                              )   ANSWERS TO DEFENDANT'S
                                                                           )   FIRST INTERROGATORIES
             14
                  WALT DISNEY PARKS AND                                    )
                  RESORTS U.S. INC.,                                       )
             15
                                                                           ) Hon. Manuel L. Real
                     Defendant.
             16   ______        ___/
             17

             18           Plaintiffs, Y.Z., by and through M.Y.R., as Next Friend, Parent and

             19   Natural Guardian; and M.Y.R., Individually, by and through undersigned

             20   counsel, and pursuant to Fed.R.Civ.Proc. 33, gives notice of serving their


•            21                                                     Page 1
                   Notice of Serving Plaintiffs Y.Z. and 0.0NJF@[~ Defendant's First Interrogatories
                   T.P., et al. v. Walt Disney Parks & Resorts US, Inc. Case No. 15-CV-5346-R

                                                                                                           Exhibit 1HH
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                                                                             White Decl. ISO Disney's SJ Motion P.0673
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           1   Answers to Defendant's First Interrogatories to Plaintiffs dated March 8,                                   •

           2   2016.

           3                                      CERTIFICATE OF SERVICE

           4           I HEREBY CERTIFY that on this 4 th day of May, 2016 a true and

           5   correct copy of the foregoing was furnished via Electronic Mail to:

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 Q.                Jeremy.White@kayescholer.com
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                                                                  Facsimile: (813) 289 -9435
          19                                                      Email: adogali@dogalilaw.com

          20                                                      And

          21                                                      Page 2
                Notice of Serving Plaintiffs Y.Z. and e:OliFIID~iM21rlilltt1 Defendant's First Interrogatories
                T.P., et al. v. Wa lt Disney Parks & Reso rts US, Inc. Case No. 15-CV-5346-R
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              5                                                 Attorneys for Plaintiffs

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•            21                                                Page 3
                   Notice of Serving Plaintiffs Y.Z. and ~(J~ffi)E1:~ Defendant's First Interrogatories
                   T.P., et al. v. Walt Disney Parks & Resorts US, Inc. Case No. 15-CV-5346-R


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                                                                                                      Exhibit 1HH
                                                                        White Decl. ISO Disney's SJ Motion P.0675
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               Telephone: (310) 844-9696
           8   Attorneys for Plaintiffs

                                 UNITED STATES DISTRICT COURT FOR THE
                                    CENTRAL DISTRICT OF CALIFORNIA




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               T.P., et al.,

                               Plai n tiffs,
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                                                                        Case No.: 15-cv-5346-R

                                                                  ) PLAINTIFFS Y.Z. AND M.Y.R.'S
                                                                  ) ANSWERS TO DEFENDANT'S
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                       V.                                         ) FIRST INTERROGATORIES
          13
                                                                  )
               WALT DISNEY PARKS AND                              )
          14
               RESORTS U.S. INC.,                                 ) Hon. Manuel L. Real
                                                                  )
          15
                               Defendant.
          16
               ______ ___/
          17

          18          Plaintiffs, Y.Z., by and through M.Y.R., as Next Friend, Parent and


          19   Natural Guardian; and M.Y.R., Individually, by and through undersigned

          20   counsel, and pursuant to Fed.R.Civ.Proc. 33, serves their Answers to

          21                                                Page 4
                Notice of Serving Plaintiffs Y.Z. and 00t'IJF®!E~ Defendant's First Interrogatories
                T.P., et al. v. Walt Disney Parks & Resorts US, Inc. Case No. 15-CV-5346-R
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                                                                                                    Exhibit 1HH
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                                                                      White Decl. ISO Disney's SJ Motion P.0676
            Case 2:15-cv-05346-CJC-E Document 469-56 Filed 12/10/20 Page 6 of 9 Page ID
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                        as the opm10n of medical providers. Subject to the foregoing
                        objection, Plaintiff will produce medical records in their
                        possession, custody and control which contain the requested
                        information.
             3

             4

             5           8.      Identify any visits made by Y.Z. to any Disney Park in the

             6    past five (5) years, including but not limited to the following:

             7                   a.      any services or accommodations provided to Y.Z.

             8                           during each visit, including the issuance of any GAC

    <i:      9                           cards;
    c..:
    Q.,
    ::i     10                   b.     all rides, attractions, shows, stores, meet and greets,


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    0
    c:=
    t.!l
    :I:     11                          and other activities that Y.Z. attended or participated
    <
    -<
    ...;i

    ...;i
            12                          in during the visit; and
    t.!l
    0
    Q
            13
                                 c.     the specific order of rides and/or attractions that Y.Z.
            14
                                        experienced or attended during each of the visits.
            15
                        ANSWER:
            16
                        a). Memorial Day 2013: Used the GAC card for all Cars Land
            17          attractions, it was a breeze and easy to handle for Y.Z.

            18          Nov. 14-16, 2013: Obtained the DAS and we ended up tossing it into
                        the trash! The first day, received the DAS for everyone, we were
            19          having a family reunion trip - grandmother, aunts, uncles and their
                        families were all there for the day so there were 20 people visiting
            20


•
                        Disneyland together. We tried to figure out the system. Found the

            21                                                Page 9
                  Notice of Serving Plaintiffs Y.Z. and 001'-lJF®~~ Defendant's First Interrogatories
                  T.P., et al. v. Walt Disney Parks & Resorts US, Inc. Case No. 15-CV-5346-R


                                                                                                     Exhibit 1HH
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                                                                       White Decl. ISO Disney's SJ Motion P.0677
           Case 2:15-cv-05346-CJC-E Document 469-56 Filed 12/10/20 Page 7 of 9 Page ID
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            1           first kiosk, got a return time for the ride, it was over 1 hour. We had                       •
                        no idea we couldn't get another pass at the same time. This was the
            2           first day so we decided not to use the DAS and just try to wait to the
                        lines. There was no point in using it, there were only 2 kiosks to
            3
                        walk to in order to sign up for waiting times. Lines were around 25
            4           minutes, so we tried waiting in them and the family members took
                        turns helping to occupy the kids. The second day was a Saturday,
            5           more crowded, and we decided to give the pass a try this time. Even
                        though it was the same employee issuing the DAS, she said the limit
            6
                        was 5 people. The second day was a total disaster because of the
            7           crowds and the waits. Kids were crying, lots of meltdowns, all the
                        walking - to and from the kiosks, back and forth after the rides, must
            8           have walked the entire park 5 times!

 <:         9            b). Alice in Wonderland, Astra Orbiter, Monorail, Dumbo the
 c.:                    Flying Elephant, Finding Nemo, It's A Small World, Mad Tea Party,
 c.:
 ::i       10           The Many Adventures of Winnie the Pooh, Splash Mountain,


                                                                                                                      •
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 ci:::
 i:.:,
                        Autopia, Davy Crockett's Explorer Canoes, Disneyland Railroad,
 ~         11           Jungle Cruise. Francis Ladybugs, The Little Mermaid, Luigi's

 -......
 <:                     Rollickin' Roadsters, Maters Junkyard, Radiator Springs Racers,
 <:        12           Soarin Over California, Tuck And Roll Drive 'Em Buggies, Disney
 i:.:,
 0                      Downtown. He has rides he likes to repeat.
 Q
           13
                        c). I don't remember the specific order, but I can tell you that my
           14           son has a photographic memory. If we walked in a different
                        direction that he is used to doing, he would scream and kick until I
           15           walked the same route I walked prior, we have to sit on the same
                        bench to watch the fireworks, etc.
           16

           17
                         9.       Identify any tickets or annual passes used to gain admission
           18
                 to any Disney Park in the past five (5) years, including the date of
           19
                 renewal for any annual passes, if applicable.
           20

           21                                                    Page 10
                 Notice of Serving Plaintiffs Y.Z. and eOt-lJF/IDti:m-11¢t! Defendant's First Interrogatories
                 T.P., et al. v. Wa lt Disney Parks & Resorts US, In c. Case No. 15-CV-5346-R

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         Case 2:15-cv-05346-CJC-E Document 469-56 Filed 12/10/20 Page 8 of 9 Page ID
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•                                                                    .Y.R. as Next Friend, Parent and Natural
                                                                    Guardian of Y.Z.




                STATE OF CALIFORNIA
                COUNTY OF
                                                                               ct-:ti a clw d CA
                                                                              A- )J pv r {)Of;.c           Q L,   t n Olo /ec~· 1Afi1
                        On thisday of - - - - - - - - -, 2016, before me,
                                         (Notary Public) personally appeared
               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ who proved to me on the basis of

               satisfactory evidence to be the person(s) whose name(s) is/are subscribed to the



•
               within instrument and acknowledged to me that he/she/they executed the same in
               his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the
               instrument the person(s), or the entity upon behalf of which the person(s) acted,
               executed the instrument.


                     I certify under PENALTY OF PERJURY under the laws of the State of
               California that the foregoing paragraph is true and correct.

                        WITNESS my hand and official seal.




                                                                            Notary Public, State of California

                            Page 13
                Notice of Serving Plaintiffs Y.Z. and M.YR. Answers to Defendant's First Interrogatories
                T.P., et al. v. Walt Disney Parks & Resorts US, Inc. Case No. J5-CV-5346-R




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          A notary public or other officer completing this certificate verifies only the identity of the individual who
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      who proved to me on the basis of satisfactory evidence to be the person\8}' whose name(sj
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      subscribed to the within instrument and ackno~!e~ ed to rne that -t,.e{sti}lthey executed
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      Riet@'/#te ir authorized capacity{,ies), and that by ~/tfrei r signature(s fon the instrument
      or the entity upon  behalf of which  the  person(-sYactea  , executed the instrument .

                                                            I certify under PENALTY OF PERJURY under the laws
                                                            of the State of California that the foregoing paragraph
                                                            is true and correct.
                                                                           WITNESS my hand and official seal.


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      • Partner -        •
                      Limited          •
                                   General                                      0 Partner - 0 Limited D General
      • Individual       [J Attorney in Fact                                    • Individual      • Attorney in Fact
      • Trustee          O Guardian or Conservato r                             • Trustee _ _ _   D Guardian or Conservator
      • Other: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                     • Other: _           _ _ _ _ _ _ _ __
      Signer Is Representing: _ _ _ _ _ _ _ _ __                                 Signer Is Representing : _ _ _ _ _ _ _ __




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